Case 1:15-cv-21702-JAL Document 30 Entered on FLSD Docket 04/11/2016 Page 1 of 9


                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                                               FILED by         D.C.

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                                                                 STEVLN M LARIMORE
                                                                 CLERK U s D1sT cT
  DEXTER EAKT. KEMP P                                            S O f !2Y-
                                                                       -  -.!tAMl.
                                                                           !:
                                                                            '

             PETITIONER.



 VS.                                        CASE NO . l5-2l702-CIV-LEHA*D
                                                     (l0-204l0-CR-LENA*n)
                                            MAGISYPATE JUDGE P.A . WHITE
                                            EVIDENTIARY HEAQING REQUIRED
 UNITED STATES OF AMERICA ,

             RESPONDENT .
                                 /


                 G D TIONS m THE M GV D ATE'S REN RT

        COMES NOW . Petitioner . Dexter Kemp , pro se respectfully
 movinq to file his objections to the Magistrates Report issued
 on February l9, 2016. (CV-DE#27 at 9).
       However , the     Magistrate 's Report     is inaccurate      as the
 Petitioner filed his Section 1 2255 motion within one year of
 the United States Supreme Court denying Petitioner 's Writ of
 Certiorari on May 28. 2014. While the Magistrate acknow ledges
 the fact that Attorney Allen P . Pegg . informed the Petitioner
                                           4
 and his family of the date when '
                                 -hLs petition for Certiorari
 being denied. (CV-DE#27 at 8). The Magistrate recommends that
 Petitioner 's section 5 2255 motion be dismissed as untimely.
 without any further inquiry from counsel Pegg as to the filinqs
 of the Writ of Certiorari ip this case a (l)


 (1) At this time the Petitioner is in the process of obtaining
a sworn affidavit from attorney Pegg . as to the filings and
disposal of Petitioner 's Certiorari Petition .
Case 1:15-cv-21702-JAL Document 30 Entered on FLSD Docket 04/11/2016 Page 2 of 9


       As    a   result . the Petitioner   asserts    that   because his

Sectïon : 2255 motion was filed within one year of his Writ of
Certiorari       becominq   final. The Magistrate 's Report must be
overruled in its findings that the Petitioner's Section 5 2255
motion should be dismissed as filed untimely for the reasons as

followsr


       1. Vàolation of Slisby v. Jonese 960 F.2d 925
             (11th Clr. 1992). When faàling to resolve all
             çlaims raised in Petitionexzz-section : 2255 motion

       This Circuit has long held that district court 's must
                   raised in a pro se defendant 's habeas corpus
resolve @ll claims
                 relief is warranted or not. Clisby v. Jopp#:
petition whether
       F.2d 925. 938 (11th Cir. l992)(en banc); phodp M5 United
 960
 Stateqe 583 F.3d
                      1289. 1291 (11th Cir. 2009)(holding that fligxz
          to ï 2255 proceedings where district court fails to
 applàes
 resolve all claims raised by pro se Petàtioner).
      Here : the Magistrate failed to adhere to                the   Court 's

                 of   Clisby   and   resolve   âll    claims    raised    in
 mandate 's
                        se ç 2255 motion . When ruling on a ï 2255
 Petitioner 's pro
                               set forth enough analysis to provide a
 motion, the court must
 sufficient basis for appellate review. Bppldwlter #. Uni&-
                                                          ed
 Statesp 292 F.3d 1302, 1303-04 (11th cir. 20021.
            Thus, because the Magistrate failed to comply with the
                                 should overrule that Magistrate 's
  holding in Clâsby . This Court
  Report and resolve al1 claims raised in Petitioner 's timely

  filed section : 2255 motion.




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Case 1:15-cv-21702-JAL Document 30 Entered on FLSD Docket 04/11/2016 Page 3 of 9


       II. Objections to Magistrate 's Report

        To the extent it can be said that the Magistrate 's Report
 is   said   to   have   addressed    some    of   the    claims   raised   in

 Petitioner's Section : 2255 motion. the Petitioner objects to
 any such findings based on the argument raised throughout the
 5 2255 proceedings .



                                 CONCLU@ION

      WHEREFORE . the Petitioner prays that the Magistrate 's Report
 is overruled and/or that an evidentiary hearing be held to
 determine exactly when the Certiorari petition filed by Attorney
 Allen P. Pegg was resolved by the Supreme Court.



                                            Respectfully submitted ,

                                             exter Kemp
                                            Reg. No. 83049-004
                                            Jail #150131766
                                            Miami Dade County Jail
                                            Pretrial Detention Center
                                            1321 N .W . 13th Street
                                            Miami r Florida 33125




                                       3-
                                     - .
Case 1:15-cv-21702-JAL Document 30 Entered on FLSD Docket 04/11/2016 Page 4 of 9


                              CïEKIEICATE OF SERVICJ

       I   HRARBY       rEPTIFY that a true and correct copy of the
 foregoing    motion       has been       furnished , via   U .s . Postal Mail
 service , this     .   i'ek aay      Wf-
                                   of x fk''t. 2cl6,   to the following party z


 AUSA , Juan Antonio Gonzalez, Jr .
 1120 NW 20th Street
 Suite l0l
 Miami , Florida 33172



                                                       A'
                                                   Dexter Kemp




                                          -
                                              4-
Case:1:15-cv-21702-JAL        Docum ent#:21 Entered on FLSD Docket:08/21/2015                         Page 2 of3
  Case 1:15-cv-21702-JAL Document 30 Entered on FLSD Docket 04/11/2016 Page 5 of 9




      Fm-m :A llen P.Pegg
      -                 - -



      To:W wwladyu @ comc%tnet
      A nt:August11,2015 at11:34 A M
      Sublect:Dexter
      Rosw

      InDexter'sape ,therewu 4petitionforcertiorarisledw1t11theUSSu reme
      Co< Thatm uti
          -          onwmsfleé9om thev Kamea pealandv Ksmedisictcourt
      e>ne(12-10990fortheappe and 10-20410forthedisGctcoM e.   nne asDext:r's I               .
      theSuprem e ourthad g= ted certloe and reversed theconvicionsforthe Ra ns
     ao ed in them tltion,lN lievethatrellefwould haveG ectedDexter'sconvie on.
     TheSupreme Courtdenied thepedtion forcertiorarion M ay 28, 2014.DexterSled hls
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     habeasm- tition lesslhsn A earthere r. U nderC1a v.United States.537 US 416,
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     thepetdon should % deem edtim ely. Thegovem m ent'sargum en-tfailsto Rcognia
     thattherewasam tition-/orcertlorarisledin Dexter'scase       .



     M len P.Pegg
     HoganLovellsUS LLP
     allemm gg@hoganlovells.com
     (305)459-6641


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Case 1:15-cv-21702-JAL Document 30 Entered on FLSD Docket 04/11/2016 Page 6 of 9

   From:FhnnyJohnson(mailto:nicole36c@ icloud.com)
   A nt:Monday,February 29,2016 6:53 AM
   To:O gg,Allen P.
   Subjeu :DexlrKemp


   Hello M r.Pegg,this is concem ing DexterKem p.He gota e sponds back from the couds stating
   again that his 2255 is time barred.He contacted you before aboutthis issue and even sentthe
   em ailthatyou sentto him explaining why he shouldnx be tim e ban d as an exhibit.It's stillstaying
   thatthe 2255 is stilltime bared.W hatthe govem mentis saying thatthere was a certiorarifiled in
   his case concem ing his co defends butnotconceming him .That'  s the reason why they are saying
   he is tim ed barred.He wants to know whatshould he do nextand he asking ifyou can give Iegal
   advice on whatsteps to take next.He has a deadline ofMarch 7,2016 and would appreciate ifyou
   can getback to him .You can emailback to this em ailhave a bless day.


   Sentf*m m y iphone



   AboutHogan Lovells
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                         semail(andanyattachments)from yoursystem.



   On Mar1,2016,at5:07 PM , Pegg,All
                                   en P.<allen.pegg@ hoganlovells.com> wote:


           DearEbony/Dexter,


          First,Iam sorry it'staken m e a day orso to respond to you. I've been a Iittle tied
          UPwith othercom m itm ents. Second,as I've m entioned to Dexteracouple of
          tim eson the phone,the Courtappointed m e to represent Dexteronly on his direct
          appealand noton any trialorcollateralproceedings.There hasn'tbeen anY
          confusion on thatto date,and ljustwanted to m akesurewe're aIIonthesame
          page here. Third,the governm ent's position stilldoesn'tm ake sense to m e. The         -   -

          petition forceqiorariw asfiled from the very sam e appealand very sam e district
                         -        .   -                           -
                                                                                -         -

          courtcase 12-10990 forthe appealand 10-20410fort
                                                         -hedistrictcourtcase)as
                                                                              -r
          Dexter's. Ifthe broad reliefsoughtin the petition had been granted, Ibelieve
          Dexterwould have argued that itappliesto the appellate and districtcourtcases
          asawhole(including Dexterand hisvariousotherco-defendants).W hatdoes
          Dexterhave a deadline ofM arch 7 to do?




                                                    G
       From
    Case    :FM nyJohason(mai
         1:15-cv-21702-JAL  lto:nicole3630
                           Document     c@ icEntered
                                             loud.comq
                                                     on FLSD Docket 04/11/2016 Page 7 of 9
        A nt:Thursday,March 03,2016 4:55 Pr1
        To:Pœ g,Allen P.
        * .M* :Re:DexterKemp

        DearM r.Pegg,
        lappreciate you getting back with m e and lunderstand everything you stated very clearly and yes
        we areon thesame page.The magistratejudge sentme a reportand recommendation stating that
        itwas a cediorarifiled in m y case conceming my co defendants behalfand they saying because I
        didnxactuallyfileonemyselfthatmycodefendantscediorarideadlinedated- qnxapplytome.
        The po blem Is Ihave to show som e type ofway thatm y co defendants cediora; and deadline          .

        date applies to me as well.Is theœ any type ofcase Iaw stating thatco defendants
        certiorari/deadline date applied to the otherco defendants as welloris thee anything stating that I
        can getrelieved based offm y co defendants filing a cediorariand a certiorarinotbeing filed on m y
        behalf.Ifso can you please send me the nam e ofthe case Iaws orany inform ation Ican use. The
        M arch 7 deadline is form e to reply back to the repod and c om m endation aboutm e being tim ed
        bare .Have a bless day

        Sentfrom my iphone

Ebony Johnson <nicole36c@ icloud.com>                                                Thu.M ar 17,2016 at8:07 PM
To:ilovechickenozl@gmail.com


  Sentfrom my iphone
  Begin forwarded m essage:


        From :''Pegg,Allen P.''<allen.pegg@ hoganlovells.com>
        Dae :M am h 7,2016 at3:26:46 PM EST
        To:Ebony Johnson <nicole36c@ icloud.com>
        Subject:RE:DexterKemp

        DearEbony/Dexter,


        TheformerFifthCircuit'sdecisioninKicklighterv.NailsbyJannee,Inc.,616F.2d734(5thcir.
        1980)isbindingprecedentinthe11thcircuitandsupportsthepropositionthatwherefewer
        than aIIdefendantsappealbutthe issues am ong the defendantsare interwoven,yhe appellate
                                                                                              --


        decision should apply to aIIdefendants,including thepnes w ho did notseparately appeal.
         -                            -     -                                                      -   .

         W ithout providing Iegaladvice,itw ould appearthatyou could use thisto supportyourposition.



        Hogan Lovells US LLP

        allen.pegg@ hoganlovells.com
        (305)459-6641
  From:EYnyJohnson(mail
                      to:
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                           e e@i
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                                oud.
                                   coml
  Sent:Mon1:15-cv-21702-JAL
 Case     day,February29,20166:53AM Document 30 Entered on FLSD Docket 04/11/2016 Page 8 of 9
 To:IM g,AllenP.
 Subjed:DexterKemp


 HelloM r.Peggsthisisconcerning DexterKemp.Hegotarespondsback from thecourtqstatingagain thathis2255istimebarred. Hecontactedyou beforeaboutthis
 issueandeven senttheemailthatyousenttohim explaining whyheshouldn'tbetimebarred asan exhibit.It'sstillslyingthatthe2255isstilltimebarred. W hatthe
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 AboutHoganLovelll
 HoganLovellsK an intematlonalIegalpracticethatKcludesHoganLovelK U3 LLP andHoganLovee lntematlonalLLP. Forrrlereinformation.seewww houanlovells.com.

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  DearEbony/Dexter,
 First,lam sorryit'stakenmeadayorsoto respondtoyou.I'vebeenaIittletiedupwithothercommitments.Second,asI'vementionedtoDexteracoupleoftimesonthephone,
 thecourtappointedmetorepresentDexteronlyonhisdirectappealandnotonanytrialorcollateralproceedings.Therehasn'tbeenanyconfusiononthattodate,andljustwanted
 to makesurewe'reaIIonthesamepagehere.Third thegovernment'spositionstilldoesn'tmakesensetome.Thepetitionforcertiorariwasfiledfrom thevew sameappeaiand
 verysamedistrictcourtcase(12-1œ90fortheappealand10-20410forthedistrid courtcase)asDexter's.Ifthebroadreliefsoughtinthepetitionhadbeengranted,IbelieveDexter
 wouldhavearguedthatitappli estotheappelateanddi
                                               strictcourtcasesasawhole(includingDexterandhi svari
                                                                                                 ousotherco-defendants).WhatdoesDexterhaveadeadlineof
  March7todo?

 AllenP.Pegg
 HoganLovellsUSLLP
 allen.peggighoganpovelts.com
  (305)459..6641
 From:E* yM nsœ ll
                 nailto:nkxe fe i
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                                   a.coml
 Sent:Thure y,March03,20164:55PM
 To:F% g,Al%nP.
 Subjed:Re:1:1x* Kemp
 DearM r.Pegg,
  Iappreciateyougetli
                    ngbackw1
                           t1:meandIunderstandeverythingyoustatedveryclearlyandyesweareonthesamepage.n emagi
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 anyinformationIcantlse.TheM arch 7deadlineisformetoreply backtothereportand recommendationaboutmebeingtimedbarred.Haveablessday
  sentfrom my iphone


                                                                                                                                                                     Page 1 of 1


  DearEbony/Dexter,
 TheformerFifthcircuit'sdecisioninKicklighterv.NailsbyJannee, I
                                                              nc.,616F.2d734(5îbcir.19K )isbindingprecedentinthelltbcircuitandsuppor'tsthepropositionthatwhere
 fewerthanalIdefendantsappealbuttheissuesamongthedefendantsareinterwoven,theappellatedecisionshouldapplytoalIdefendants,includingtheoneswhodidnotseparately
 appeal.withoutprovidingIegaladvice itwouldappearthatyoucouldusethistosuppor'tyourposltionaboutthecertpetltion,Dexter.

  AllenP.Pegg
  HoganLovellsUSLLP
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